                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN


JOHN HUBER, in his individual capacity
and as Personal Representative of the
ESTATE OF ANTHONY HUBER,

              Plaintiff,
                                                 Case No. 21-CV-969
      v.

DAVID G. BETH, in his individual and
official capacity as Kenosha County Sheriff,
DANIEL G. MISKINIS, in his individual
and official capacity as the former Chief of
Police for the Kenosha Police Department,
ERIC LARSEN, in his official capacity as
the acting Chief of Police for the Kenosha
Police Department, JOHN DOE POLICE
OFFICERS of the Kenosha Police
Department, Kenosha County Sheriff’s
Department, Waukesha County Sheriff’s
Department, Racine County Sheriff’s
Department, Sauk County Sheriff’s
Department, Walworth County Sheriff’s
Department, Washington County Sheriff’s
Department, Menomonee Falls Police
Department, and West Allis Police
Department, CITY OF KENOSHA, COUNTY
OF KENOSHA, COUNTY OF WAUKESHA,
COUNTY OF RACINE, COUNTY OF SAUK,
COUNTY OF WALWORTH, COUNTY OF
WASHINGTON, VILLAGE OF MENOMONEE
FALLS, CITY OF WEST ALLIS, and KYLE
RITTENHOUSE,

              Defendants.


   STIPULATION TO EXTEND THE TIME FOR MUNICIPAL DEFENDANTS TO
          RESPOND TO THE PLAINTIFF’S AMENDED COMPLAINT




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       The Plaintiff and certain Defendants (hereinafter “Municipal Defendants” which are

namely, all defendants other than Kyle Rittenhouse) hereby file this stipulation to enlarge the

time to respond to Plaintiff’s Amended Complaint for the following Municipal Defendants:

David Beth, Daniel Miskinis, Eric Larsen, City of Kenosha, Kenosha County, Waukesha County,

Racine County, Sauk County, Walworth County, Washington County, Village of Menomonee

Falls, and City of West Allis, and the alleged John Doe Police Officers in the above-captioned

matter and as grounds states as follows:

       1.      On January 7, 2022, Plaintiff filed his motion for leave to file a First Amended

Complaint. (Dkt. 25.)

       2.      The Defendants in the original action did not oppose Plaintiff’s motion. (See Dkt.

26.) In turn, the Court issued a text-only order on February 2, 2022, granting the motion for

leave to file the amended complaint.

       3.      On February 2, 2022, Plaintiff filed the Amended Complaint. (Dkt. 27.)

       4.      Upon request from the Municipal Defendants noted above, Plaintiff has agreed to

provide Municipal Defendants, namely, all defendants other than Kyle Rittenhouse, until March

21, 2022 to file a response to Plaintiff’s Amended Complaint.

       5.      The parties to this Stipulation further agree that this short extension will not

prejudice any named party.




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Dated this 10th day of February, 2022.


                                    By: /s        Sara C. Mills
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                                         County, Sauk County, Walworth County,
                                         Washington County, and the respective John
                                         Doe Police Officers
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Dated this 10th day of February, 2022.


                                    By: /s        Ted Waskowski
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                                         Attorneys for Defendants Daniel Miskinis,
                                         Eric Larsen, City of Kenosha, Village of
                                         Menomonee Falls, and City of West Allis and
                                         the respective John Doe Police Officers
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Dated this 10th day of February, 2022.


                                    By: /s        Anand Swaminathan
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